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Western District Of Tennessee

 

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Tammie Michele Moore Case Nurnber: OS=TUOS¢T/An
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On April 26, 2005, the defendant appeared before me on a charge of violation of the terms
and conditions of her supervised release in this matter. At this hearing, the defendant WAIVED her
right to a preliminary hearing. Jim Powell, representing the government, and Dianne Smothers,
representing the defendant, Were present.

Accordingly, the defendant is held to a final revocation hearing before Judge J ames D. Todd.
It is presumed that the United States District Court Will set this matter for a revocation hearing
pursuant to Federal Rule of Crirninal Procedure 32.1(a)(2), and will see that appropriate notices are

given. The defendant is remanded to the custody of the United States Marshal.

CS/AM @,.J

S. Thomas Anderson, United States Magz`stmte Judge

Date.' Aprz'l 26, 2005

This document entered on the docket sheet in compliance
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Honorable J ames Todd
US DISTRICT COURT

